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           CERTIFICATE OF GOOD STANDING


                                             *This document expires 60 days from the date of issuance*




Issued on 1/31/2025


To Whom it May Concern:


Re: CERTIFICATE OF GOOD STANDING for Stewart R Nelson


This is to certify that Stewart R Nelson, Utah State Bar No. 17286 was admitted to practice law in Utah
on 10/15/2019.

Stewart R Nelson is currently an ACTIVE member of the Utah State Bar in good standing. “Good
standing” is defined as a lawyer who is current in the payment of all Bar licensing fees, has met
mandatory continuing legal education requirements, if applicable, and is not disbarred, presently on
probation, suspended, or has not resigned with discipline pending, from the practice of law in this state.




__________________________
Maribeth LeHoux
General Counsel
Utah State Bar




No.2025 -1106359
verify by email at cogsrequest@utahbar.org
